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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              OXFORD DIVISION

BOBBIE TATUM                                                                     PLAINTIFF

V.                                                                     NO: 3:18CV230-M-V

NANCY A. BERRYHILL, Acting                                                     DEFENDANT
Commissioner of Social Security

                                          ORDER

        On December 16, 2020, Magistrate Judge Jane Virden entered a Report and

Recommendations [29] (“R&R”) which recommended that (1) plaintiff’s petition for an

award of attorney’s fees be granted and payment to counsel for Plaintiff from Plaintiff’s past-

due benefits in the amount of $17,740.50 be approved, and (2) that counsel for Plaintiff be

direct to refund Plaintiff the prior EAJA award of $3,027.01.

        After reviewing the record, the R&R, and finding no objections, the Court is of the

opinion that the R&R should be approved and adopted as the opinion of the Court.

        It is, therefore, ORDERED:

1.      Plaintiff’s petition for an award of attorney’s fees be granted and payment to counsel

        for Plaintiff from Plaintiff’s past-due benefits in the amount of $17,740.50 be

        approved, and

2.      That counsel for Plaintiff be direct to refund Plaintiff the prior EAJA award of

        $3,027.01.

IT IS SO ORDERED AND ADJUGED this 11th day of January 2021.


                                             /s/ Michael P. Mills____________________
                                             UNITED STATES DISTRICT JUDGE
                                             NORTHERN DISTRICT OF MISSISSIPPI
